            CASE 0:24-cv-02646-JRT-DLM Doc. 55 Filed 08/14/24 Page 1 of 2




                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA

MATTHEW D. GUERTIN                                      Case No: 24-cv-02646-JRT-DLM
                                       Plaintiff,
       v.
HENNEPIN COUNTY, a municipal entity;
KEITH ELLISON, in his official
capacity as Minnesota Attorney General;
MARY MORIARTY, in her official
capacity as Hennepin County Attorney;
CHELA GUZMAN-WEIGART, in her
official capacity as Assistant County
Administrator for Law, Safety, and Justice;
JULIA DAYTON-KLEIN, in her
individual capacity;
GEORGE F. BORER, in his                                       NOTICE OF APPEAL
individual capacity;
DANIELLE C. MERCURIO, in her
individual capacity;
DR. JILL ROGSTAD, in her official
capacity as Senior Clinical Forensic
Psychologist in the Fourth Judicial District;
DR. ADAM MILZ, in his official capacity
with Hennepin County Mental Health;
JACQUELINE PEREZ, in her
official capacity as Assistant Hennepin
County Attorney;
BRUCE M. RIVERS, in his
individual capacity.
                                   Defendants.


                                   I. NOTICE OF APPEAL

Notice is hereby given that Matthew Guertin, the pro se Plaintiff in the above-named case,

hereby appeals to the United States Court of Appeals for the Eighth Circuit from the Order

Denying Motion for Temporary Restraining Order, entered in this action on August 7, 2024.




                                                    1
 CASE 0:24-cv-02646-JRT-DLM Doc. 55 Filed 08/14/24 Page 2 of 2




Dated: August 14, 2024                 Respectfully submitted,

                                        /s/ Matthew D. Guertin

                                       Matthew David Guertin
                                       Pro Se Plaintiff
                                       1075 Traditions Ct.
                                       Chaska, MN 55318
                                       Telephone: 763-221-4540
                                       MattGuertin@protonmail.com
                                       www.MattGuertin.com




                               2
